                 Case 2:08-bk-30721-ER                                            Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                                                Desc
Official Form 1 (1/08)                                                            Main Document    Page 1 of 54
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                           CENTRAL DISTRICT OF CALIFORNIA
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                 (Spouse)(Last, First, Middle):


 Rendon, Manuel V.                                                                                                    Rendon, Teodora V.
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 NONE                                                                                                                 NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   4127                                                                                (if more than one, state all):   4131
 Street Address of Debtor (No. & Street, City, and State):                                                            Street Address of Joint Debtor                     (No. & Street, City, and State):
 227 N. Rampart Blvd                                                                                                  227 N. Rampart Blvd
 Los Angeles Ca                                                                                                       Los Angeles Ca
                                                                                              ZIPCODE                                                                                                            ZIPCODE
                                                                                              90026                                                                                                              90026
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    Los Angeles                                                          Principal Place of Business:                    Los Angeles
 Mailing Address of Debtor                  (if different from street address):                                    Mailing Address of Joint Debtor                        (if different from street address):

 SAME                                                                                                             SAME
                                                                                              ZIPCODE                                                                                                            ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                  ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                  Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                   Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                              Chapter 11
     Corporation (includes LLC and LLP)                                                                                         Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                 of a Foreign Nonmain Proceeding
     Partnership                                                                                                                Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                    Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                       business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                               Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
    Filing Fee to be paid in installments (applicable to individuals only). Must attach                                 to insiders or affiliates) are less than $2,190,000.
    signed application for the court’s consideration certifying that the debtor is unable                             -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                            Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach
    signed application for the court's consideration. See Offi cial Form 3B.                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                                           classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                     THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-            50,001-            Over
                                                                             5,000          10,000          25,000            50,000             100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
               Case 2:08-bk-30721-ER                           Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22 Desc
Official Form 1 (1/08)                                         Main Document    Page 2 of 54                 FORM B1, Page                                                          2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             Manuel V. Rendon and
  (This page must be completed and filed in every case)
                                                                                             Teodora V. Rendon
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:

 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X /s/ Andrew E. Smyth                                                          12/01/2008
                                                                                              Signature of Attorney for Debtor(s)                                            Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
               Case 2:08-bk-30721-ER                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22 Desc
Official Form 1 (1/08)                                       Main Document    Page 3 of 54                 FORM B1, Page                                              3
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                     Manuel V. Rendon and
   (This page must be completed and filed in every case)
                                                                                     Teodora V. Rendon
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
signs the petition] I have obtained and read the notice required by
                                                                                      attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the order
Code, specified in this petition.                                                     granting recognition of the foreign main proceeding is attached.
 X /s/ Manuel V. Rendon
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X /s/ Teodora V. Rendon
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                      12/01/2008
     12/01/2008                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Andrew E. Smyth                                                          I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Andrew E. Smyth 60030
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                                and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
     Smyth Law Office                                                           11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor or
     4929 Wilshire Blvd.                                                        accepting any fee from the debtor, as required in that section. Official Form
     Address                                                                    19 is attached.
     Suite 605
     Los Angeles Ca                        90010
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     (323) 933-8401
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     12/01/2008                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.) (Required
                                                                                 by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge after
 an inquiry that the information in the schedules is incorrect.                  Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.                                         Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible
The debtor requests the relief in accordance with the chapter of title           person, or partner whose Social-Security number is provided above.
11, United States Code, specified in this petition.                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional sheets
                                                                                 conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                 and the Federal Rules of Bankruptcy Procedure may result in fines or
     12/01/2008                                                                  imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
              Case 2:08-bk-30721-ER
Official Form 1, Exhibit D (10/06)
                                                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                      Desc
                                                         Main Document    Page 4 of 54

                                           UNITED STATES BANKRUPTCY COURT
                                            CENTRAL DISTRICT OF CALIFORNIA


In re Manuel V. Rendon                                                                                                    Case No.
      and                                                                                                                 Chapter 7
      Teodora V. Rendon
                                            Debtor(s)




          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                           CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.      [Must be accompanied by a motion for determination
by the court.] [Summarize exigent circumstances here.]




       If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied
with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.
               Case 2:08-bk-30721-ER
 Official Form 1, Exhibit D (10/06)
                                                            Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                Desc
                                                            Main Document    Page 5 of 54

               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:       /s/ Manuel V. Rendon
 Date:    12/01/2008
              Case 2:08-bk-30721-ER
Official Form 1, Exhibit D (10/06)
                                                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                      Desc
                                                         Main Document    Page 6 of 54

                                           UNITED STATES BANKRUPTCY COURT
                                            CENTRAL DISTRICT OF CALIFORNIA


In re Manuel V. Rendon                                                                                                    Case No.
      and                                                                                                                 Chapter 7
      Teodora V. Rendon

                                            Debtor(s)




          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                           CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.      [Must be accompanied by a motion for determination
by the court.] [Summarize exigent circumstances here.]




       If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied
with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.
               Case 2:08-bk-30721-ER
 Official Form 1, Exhibit D (10/06)
                                                            Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                Desc
                                                            Main Document    Page 7 of 54

               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Teodora V. Rendon
 Date:    12/01/2008
         Case 2:08-bk-30721-ERDoc 1 Filed 12/02/08 Entered 12/02/08 08:01:22 Desc
                              Main Document    Page 8 of 54
                            STATEMENT OF RELATED CASES
                INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1015-2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against
   the debtor, his/her spouse, an affiliate of the debtor, any copartnership or joint venture of which debtor is or formerly was
   a general or limited partner, or member, or any corporation of which the debtor is a director, officer, or person in control,
   as follows: (Set forth the complete number and title of each such of prior proceeding, date filed, nature thereof, the
   Bankruptcy Judge and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so
   indicate. Also, list any real property included in Schedule A that was filed with any such prior proceeding(s).)
    NONE
    NONE




2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act
   of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor,
   a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the debtor is
   a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the complete
   number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and court to
   whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A that was filed with any such prior proceeding(s).)
    NONE




3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of
   the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the
   debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or
   corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
   if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
   any such prior proceeding(s).)
    NONE




4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been
   filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
   if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
   any such prior proceeding(s).)
    NONE




I declare, under penalty of perjury, that the foregoing is true and correct.

Executed at LOS ANGELES                             , California.             /s/ Manuel V. Rendon
                                                                              Debtor
                                                                              Manuel V. Rendon

Dated                                                                          /s/ Teodora V. Rendon
                                                                              Joint  Debtor
                                                                               Teodora  V. Rendon



                   This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

Revised May 2004                                                                                                               F 1015-2.1
           Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                          Desc
                                                    Main Document    Page 9 of 54
B 201 - Notice of Available Chapters (Rev. 04/06)                                                           USBC, Central District of California


Name:      Andrew E. Smyth

Address: 4929 Wilshire Blvd.                              Suite 605

           Los Angeles , Ca 90010

Telephone: (323) 933-8401                            Fax: (323) 933-6089

G Attorney for Debtor
G Debtor in Pro Per

                                      UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 List all names including trade names, used by                  Case No.:
 Debtor(s) within last 8 years:

Manuel V. Rendon and Teodora V. Rendon

                                                                             NOTICE OF AVAILABLE
                                                                                  CHAPTERS
                                                                (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code)




In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you
may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
     counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
     before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
     telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
     approved budget and credit counseling agencies.

     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
     instructional course before he or she can receive a discharge. The clerk also has a list of approved financial
     management instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

     Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

     1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
        whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
        should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
        residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
        case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
           Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                   Desc
                                                    Main Document    Page 10 of 54
B 201 - Notice of Available Chapters (Rev. 04/06)                                                    USBC, Central District of California


     2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right
        to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
        creditors.
     3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
        committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
        and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
     4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
        still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
        and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
        which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating
        a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt
        arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may
        determine that the debt is not discharged.

     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
     administrative fee: Total fee $274)

     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in instalments
        over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth
        in the Bankruptcy Code.

     2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
        them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
        depending upon your income and other factors. The court must approve your plan before it can take effect.

     3. After completing the payments under your plan, your debts are generally discharged except for domestic support
        obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are
        not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain
        long term secured obligations.

     Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)

     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
     quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
     earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
     arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

     A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
     either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
     supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through
     the Office of the United States Trustee, the Office of the United States Attorney, and other components and employees
     of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.
           Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                     Desc
                                                    Main Document    Page 11 of 54
B 201 - Notice of Available Chapters (Rev. 04/06)                                                      USBC, Central District of California



                                 Certificate of [Non-Attorney] Bankruptcy Petition Preparer

     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
this notice required by § 342(b) of the Bankruptcy Code.


Printed Name and title, if any, of Bankruptcy Petition Preparer              Social Security number (If the bankruptcy petition
Address:                                                                     preparer is not an individual, state the Social Security
                                                                             number of the officer, principal, responsible person, or
                                                                             partner of the bankruptcy petition preparer.) (Required
X                                                                            by 11 U.S.C. § 110.)
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

                                                         Certificate of the Debtor

     I (We), the debtor(s), affirm that I (we) have received and read this notice.
Manuel V. Rendon and Teodora V. Rendon                                       X /s/ Manuel V. Rendon
Printed Name(s) of Debtor(s)                                                 Signature of Debtor                                Date

Case No. (if known)                                                          X /s/ Teodora V. Rendon
                                                                             Signature of Joint Debtor (if any)                 Date
                  Case 2:08-bk-30721-ER
B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                               Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                               Desc
                                                               Main Document    Page 12 of 54


                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA

   In re Manuel V. Rendon and Teodora V. Rendon                                                                                      Case No.
                                                                                                                                     Chapter 7


                                                                                                                       / Debtor




                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine
the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter
7, 11, or 13.




                                             Attached            No. of
       NAME OF SCHEDULE                      (Yes/No)            Sheets                   ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $       1,050,000.00

 B-Personal Property
                                                Yes                 3           $             62,550.00

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 1                                              $       1,412,536.28

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 1                                              $                      0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                 4                                              $           172,336.50

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
   Debtor(s)
                                                Yes                 1                                                                                 $               7,836.66

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $             11,093.00

                                  TOTAL                           15             $       1,112,550.00               $       1,584,872.78
                 Case 2:08-bk-30721-ER
B6 Declaration (Official Form 6 - Declaration) (12/07)      Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                           Desc
                                                            Main Document    Page 13 of 54


                                                UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA

   In re Manuel V. Rendon and Teodora V. Rendon                                                                                  Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   7,836.66
   Average Expenses (from Schedule J, Line 18)                                                                        $   11,093.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   9,865.34
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   362,536.28
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   172,336.50
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   534,872.78
                Case 2:08-bk-30721-ER
FORM B6A (Official Form 6A) (12/07)
                                                        Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                         Desc
                                                        Main Document    Page 14 of 54

In re Manuel V. Rendon and Teodora V. Rendon                                                          ,                 Case No.
                                       Debtor(s)                                                                                                       (if known)


                                                   SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s
own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in
the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of
Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as
Exempt.

                                                                                                                            Current
              Description and Location of Property                              Nature of Debtor's                                                 Amount of
                                                                                                                             Value
                                                                               Interest in Property                    of Debtor's Interest,
                                                                                                                                                 Secured Claim
                                                                                                        Husband--H     in Property Without
                                                                                                           Wife--W        Deducting any
                                                                                                           Joint--J     Secured Claim or
                                                                                                      Community--C          Exemption


House Lot Located at:                    227    N.    Rampart Husband and Wife                                    C     $ 500,000.00             $ 500,000.00
Blvd., Los Angeles, CA



Property at: 1351                 W.    Temple       St.,   Los Husband and Wife                                  C     $ 550,000.00             $ 550,000.00
Angeles, CA 90026




No continuation sheets attached                                                                  TOTAL $              1,050,000.00
                                                                         (Report also on Summary of Schedules.)
                      Case 2:08-bk-30721-ER
B6B (Official Form 6B) (12/07)
                                                            Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                          Desc
                                                            Main Document    Page 15 of 54

In re Manuel V. Rendon and Teodora V. Rendon                                                                 ,                  Case No.
                         Debtor(s)                                                                                                                                  (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
“x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the
property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                         Current
               Type of Property                   N              Description and Location of Property                                                     Value
                                                                                                                                                   of Debtor's Interest,
                                                  o                                                                            Husband--H          in Property Without
                                                                                                                                   Wife--W            Deducting any
                                                  n                                                                                                 Secured Claim or
                                                                                                                                  Joint--J
                                                  e                                                                          Community--C               Exemption


1. Cash on hand.                                  X

2. Checking, savings or other financial               University Credit Union-Saving                                                       C                     $ 50.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

                                                      University of California Credit Union-Checking                                       C                    $ 700.00
                                                      Location: In debtor's possession


                                                      Wasington Mutual=Checking                                                            C                    $ 100.00
                                                      Location: In debtor's possession


                                                      Wells Fargo Checking Account                                                         C              $ 2,000.00
                                                      Location: In debtor's possession


                                                      Wells Fargo-Saving                                                                   C                     $ 0.00
                                                      Location: In debtor's possession


3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                   Household Goods                                                                      C              $ 1,500.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


5. Books, pictures and other art objects,         X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                   Wearing Apparel                                                                      C              $ 1,000.00
                                                      Location: In debtor's possession


Page       1     of     3
                      Case 2:08-bk-30721-ER
B6B (Official Form 6B) (12/07)
                                                             Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                 Desc
                                                             Main Document    Page 16 of 54

In re Manuel V. Rendon and Teodora V. Rendon                                                           ,     Case No.
                         Debtor(s)                                                                                                          (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                         (Continuation Sheet)

                                                                                                                                Current
               Type of Property                    N            Description and Location of Property                             Value
                                                                                                                           of Debtor's Interest,
                                                   o                                                         Husband--H    in Property Without
                                                                                                                 Wife--W      Deducting any
                                                   n                                                                        Secured Claim or
                                                                                                                Joint--J
                                                   e                                                       Community--C         Exemption




7. Furs and jewelry.                               X

8. Firearms and sports, photographic, and          X
   other hobby equipment.

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other           401(k)                                                         C        $ 18,000.00
    pension or profit sharing plans. Give
    particulars.                                       Location: In debtor's possession


                                                       Cal Pers                                                       C        $ 35,000.00
                                                       Location: In debtor's possession


13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.



Page       2     of      3
                       Case 2:08-bk-30721-ER
B6B (Official Form 6B) (12/07)
                                                            Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                              Desc
                                                            Main Document    Page 17 of 54

In re Manuel V. Rendon and Teodora V. Rendon                                                          ,              Case No.
                         Debtor(s)                                                                                                                      (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
                                                                        (Continuation Sheet)

                                                                                                                                            Current
                 Type of Property                 N            Description and Location of Property                                          Value
                                                                                                                                       of Debtor's Interest,
                                                  o                                                                  Husband--H        in Property Without
                                                                                                                         Wife--W          Deducting any
                                                  n                                                                                     Secured Claim or
                                                                                                                        Joint--J
                                                  e                                                                Community--C             Exemption

22. Patents, copyrights, and other intellectual   X
    property. Give particulars.

23. Licenses, franchises, and other general       X
    intangibles. Give particulars.

24. Customer lists or other compilations          X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other           1988 Acura                                                               C                 $ 200.00
    vehicles and accessories.
                                                      Location: In debtor's possession


                                                      2002 Toyota Sienna                                                       C             $ 4,000.00
                                                      Location: In debtor's possession


26. Boats, motors, and accessories.               X

27. Aircraft and accessories.                     X

28. Office equipment, furnishings, and            X
    supplies.

29. Machinery, fixtures, equipment and            X
    supplies used in business.

30. Inventory.                                    X

31. Animals.                                      X

32. Crops - growing or harvested.                 X
    Give particulars.

33. Farming equipment and implements.             X

34. Farm supplies, chemicals, and feed.           X

35. Other personal property of any kind not       X
    already listed. Itemize.




Page       3      of    3                                                                                       Total                        $ 62,550.00
                                                                                                                    (Report total also on Summary of Schedules.)
                                                                                                          Include amounts from any continuation sheets attached.
                  Case 2:08-bk-30721-ER
B6C (Official Form 6C) (12/07)
                                                          Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                          Desc
                                                          Main Document    Page 18 of 54


In re Manuel V. Rendon and Teodora V. Rendon                                                  ,                  Case No.
                        Debtor(s)                                                                                                                (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:         Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                    Specify Law                               Value of                 Current
             Description of Property                               Providing each                             Claimed             Value of Property
                                                                     Exemption                               Exemption            Without Deducting
                                                                                                                                     Exemptions

University Credit Union-Saving                      Calif. C.C.P. §703.140(b)(5)                                    $ 50.00                   $ 50.00

University of California Credit Calif. C.C.P. §703.140(b)(5)                                                      $ 700.00                    $ 700.00
Union-Checking

Wasington Mutual=Checking                           Calif. C.C.P. §703.140(b)(5)                                  $ 100.00                    $ 100.00

Wells Fargo Checking Account                        Calif. C.C.P. §703.140(b)(5)                               $ 2,000.00                $ 2,000.00

Household Goods                                     Calif. C.C.P. §703.140(b)(3)                               $ 1,500.00                $ 1,500.00

Wearing Apparel                                     46 U.S.C. § 11110                                          $ 1,000.00                $ 1,000.00

401(k)                                              Calif. C.C.P. §703.140(b)(10)(E)                         $ 18,000.00               $ 18,000.00

Cal Pers                                            Calif. C.C.P. §703.140(b)(10)(E)                         $ 35,000.00               $ 35,000.00

1988 Acura                                          Calif. C.C.P. §703.140(b)(5)                                  $ 200.00                    $ 200.00

2002 Toyota Sienna                                  Calif. C.C.P. §703.140(b)(2)                               $ 3,300.00                $ 4,000.00
                                                    Calif. C.C.P. §703.140(b)(5)                                 $ 700.00




                                                                                                                                Page No.      1 of      1
                 Case 2:08-bk-30721-ER                           Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                  Desc
                                                                 Main Document    Page 19 of 54

B6D (Official Form 6D) (12/07)



In re Manuel V. Rendon and Teodora V. Rendon                                                        ,                                    Case No.
                           Debtor(s)                                                                                                                                             (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims
secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of
secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name
and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name.
See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether
the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column
labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in
more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without
Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report
the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


              Creditor's Name and                             Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                Mailing Address                               of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated


            Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien                                       Deducting Value
                                                  Co-Debtor




                Account Number
                                                                                                                    Disputed



            (See Instructions Above.)                         H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No: 0088573399                                        C 2007                                                                    $ 657,934.00                  $ 157,934.00
Creditor # : 1                                                  1st T.D.-227 N. Rampart Blvd
Citi Residential Lending                                        House Lot Located at: 227 N.
P.O. Box 5926                                                   Rampart Blvd., Los Angeles, CA
Carol Stream IL 60197

                                                                Value: $ 500,000.00
Account No: 4489618330178295                                  C 2007                                                                      $ 61,602.28                   $ 61,602.28
Creditor # : 2                                                  2nd T.D. =-227 N. Ramprt Bl
National City                                                   House Lot Located at: 227 N.
P.O. Box 856176                                                 Rampart Blvd., Los Angeles, CA
Louisville KY 40285

                                                                 Value:   $ 500,000.00
Account No: 0173849712                                        C 2007                                                                    $ 693,000.00                  $ 143,000.00
Creditor # : 3                                                  1st T.D.-1351 W/ Temple
Wells Fargo                                                     House Lot Located at: 1351 W.
P.O. Box 10335                                                  Temple St., Los Angeles, CA
Des Moines IA 50306                                             90026

                                                                 Value:   $ 550,000.00
No continuation sheets attached                                                                                Subtotal $            $ 1,412,536.28                   $ 362,536.28
                                                                                                            (Total of this page)
                                                                                                                     Total $         $ 1,412,536.28                   $ 362,536.28
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
                        Case 2:08-bk-30721-ER
   B6E (Official Form 6E) (12/07)
                                                                            Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                             Desc
                                                                            Main Document    Page 20 of 54
   In re Manuel V. Rendon and Teodora V. Rendon                                                                             ,                               Case No.
                              Debtor(s)                                                                                                                                       (if known)
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
   claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
   and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
   filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

         The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
   chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
   child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
   appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
   marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
   contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
   disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
   box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
   priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
   report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
   entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
   debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
          U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
          of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
          were not delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
          Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
          Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
          Claims for Death or Personal Injury While Debtor Was Intoxicated
          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
          drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                      No continuation sheets attached
                 Case 2:08-bk-30721-ER                        Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                                                   Desc
                                                              Main Document    Page 21 of 54
B6F (Official Form 6F) (12/07)


In re Manuel V. Rendon and Teodora V. Rendon                                                                      ,                                   Case No.
                           Debtor(s)                                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials
and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

        Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain
Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                          Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                  including Zip Code,
                                                       Co-Debtor




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          3772-356167-81008
Account No:                                                        C   2007                                                                                                                          $ 6,314.79
Creditor # : 1                                                         Credit Card Purchases
American Express Blue
P.O. Box 0001
Los Angeles CA 90096


          5490-3539-7268-0101
Account No:                                                        C   2007                                                                                                                          $ 5,229.10
Creditor # : 2                                                         Creidt Card Purchases
Bank of America
P.O. Box 15019
Wilmington DE 19886


          3746-331789-23617
Account No:                                                        C   2007                                                                                                                         $ 22,560.97
Creditor # : 3                                                         Creidt Card Purchases
Bank of America
P.O. Box 15019
Wilmington DE 19886


          4888-9360-46924050
Account No:                                                        C   2007                                                                                                                          $ 7,373.83
Creditor # : 4                                                         Creidt Card Purchases
Bank of America
P.O. Box 15019
Wilmington DE 19886


     3 continuation sheets attached                                                                                                                  Subtotal $                                     $ 41,478.69
                                                                                                                                                                    Total $
                                                                       (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                            and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
                 Case 2:08-bk-30721-ER                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                                                   Desc
                                                               Main Document    Page 22 of 54
B6F (Official Form 6F) (12/07)   - Cont.


In re Manuel V. Rendon and Teodora V. Rendon                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                  including Zip Code,




                                                        Co-Debtor




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          4003-4470-0018-1422
Account No:                                                         C   2007                                                                                                                          $ 9,476.70
Creditor # : 5                                                          Creidt Card Purchases
Capital One
P.O. Box 60024
City of Industry CA 91716


          4266841041849967
Account No:                                                         C   2007                                                                                                                         $ 12,623.94
Creditor # : 6                                                          Creidt Card Purchases
Chase
P.O. Box 94014
Palatine IL 60094


          4357-8770-1006-6530
Account No:                                                         C   2007                                                                                                                         $ 21,635.80
Creditor # : 7                                                          Creidt Card Purchases
Chase
P.O. Box 94014
Palatine IL 60094


          4147-2020-2520-8230
Account No:                                                         C   2007                                                                                                                          $ 6,815.11
Creditor # : 8                                                          Creidt Card Purchases
Chase
P.O. Box 94014
Palatine IL 60094


          4266-8410-9503-6693
Account No:                                                         C   2007                                                                                                                          $ 3,009.17
Creditor # : 9                                                          Credit Card Purchases
Chase
P.O. Box 94014
Palatine IL 60094


          5466-1601-6337-4794
Account No:                                                         C   2007                                                                                                                          $ 4,600.56
Creditor # : 10                                                         Creidt Card Purchases
Citi
P.O. Box 6402
The Lakes NV 88901-6402




Sheet No.      1 of        3 continuation sheets attached to Schedule of                                                                              Subtotal $                                     $ 58,161.28
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                        (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                             and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
                 Case 2:08-bk-30721-ER                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                                                   Desc
                                                               Main Document    Page 23 of 54
B6F (Official Form 6F) (12/07)   - Cont.


In re Manuel V. Rendon and Teodora V. Rendon                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                  including Zip Code,




                                                        Co-Debtor




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          5424180557341192
Account No:                                                         C   2007                                                                                                                         $ 29,789.68
Creditor # : 11                                                         Creidt Card Purchases
Citi
P.O. Box 6000
The Lakes NV 89163-6000


          4621-200037239347
Account No:                                                         C   2007                                                                                                                          $ 2,336.10
Creditor # : 12                                                         Credit Card Purchases
Citi
P.O. Box 6406
The Lakes NV 88901


          63694264131
Account No:                                                         C   2007                                                                                                                             $ 983.80
Creditor # : 13                                                         Credit Card Purchases
J.C. Penney
P.O. Box 960090
Orlando FL 32896-0090


          43-556-498-874-2
Account No:                                                         C   2007                                                                                                                          $ 1,900.00
Creditor # : 14                                                         Creidt Card Purchases
Macy's
P.O. Box 6938
The Lakes NV 88901


          49-015-791-224-2
Account No:                                                         C   2007                                                                                                                          $ 1,184.59
Creditor # : 15                                                         Creidt Card Purchases
Macy's
P.O. Box 6938
The Lakes NV 88901


          4311967068439930
Account No:                                                         C   2007                                                                                                                          $ 7,614.84
Creditor # : 16                                                         Creidt Card Purchases
National City
P.O. Box 856176
Louisville KY 40285




Sheet No.      2 of        3 continuation sheets attached to Schedule of                                                                              Subtotal $                                     $ 43,809.01
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                        (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                             and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
                 Case 2:08-bk-30721-ER                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                                                   Desc
                                                               Main Document    Page 24 of 54
B6F (Official Form 6F) (12/07)   - Cont.


In re Manuel V. Rendon and Teodora V. Rendon                                                                       ,                                   Case No.
                           Debtor(s)                                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                          Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                  including Zip Code,




                                                        Co-Debtor




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          5049-9485-0428-4573
Account No:                                                         C   2007                                                                                                                             $ 685.70
Creditor # : 17                                                         Credit Card Purchases
Sears Credit Cards
P.O. Box 6937
The Lakes NV 88901-6937


          4185-8772-6970-3849
Account No:                                                         C   2007                                                                                                                          $ 8,746.76
Creditor # : 18                                                         Creidt Card Purchases
Washington Mutual
P.O. Box 660487
Dallas TX 75266-0487


          0173139361
Account No:                                                         C   2007                                                                                                                              Unknown
Creditor # : 19                                                         foreclosed property
Wells Fargo                                                             1339 W. Temple St
P.O. Box 10335
Des Moines IA 50306


          5490-9601-9092-7203
Account No:                                                         C   2007                                                                                                                         $ 19,455.06
Creditor # : 20                                                         Credit Card Purchases
Wells Fargo
P.O. Box 10347
Des Moines IA 50306


Account No:




Account No:




Sheet No.      3 of        3 continuation sheets attached to Schedule of                                                                              Subtotal $                                     $ 28,887.52
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                        (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules                                 $ 172,336.50
                                                                             and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
                 Case 2:08-bk-30721-ER
B6G (Official Form 6G) (12/07)
                                                             Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                             Desc
                                                             Main Document    Page 25 of 54


In re Manuel V. Rendon and Teodora V. Rendon                                                                   / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
                 Case 2:08-bk-30721-ER
B6H (Official Form 6H) (12/07)
                                                       Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                  Desc
                                                       Main Document    Page 26 of 54


In re Manuel V. Rendon and Teodora V. Rendon                                                       / Debtor          Case No.
                                                                                                                                                  (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr.
P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                                 Name and Address of Creditor




                                                                                                                                        Page     1 of      1
                  Case 2:08-bk-30721-ER
B6I (Official Form 6I) (12/07)
                                                                   Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                        Desc
                                                                   Main Document    Page 27 of 54


In re Manuel V. Rendon and Teodora V. Rendon                                                              ,                    Case No.
                          Debtor(s)                                                                                                                       (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this
form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married                      Daughter                                                                                        19 yrs
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Techanic                                                                 Laboratory Assistant
  Name of Employer               Pasdena Community College                                                UCLA Harbor Medical Center
  How Long Employed              7 Years                                                                  5 years
  Address of Employer            1570 E Colorado Blvd                                                      Los Angeles Ca
                                 Pasadena CA 91106
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                       5,365.34 $                       3,000.00
  2. Estimate monthly overtime                                                                             $                           0.00 $                           0.00
  3. SUBTOTAL                                                                                              $                       5,365.34 $                       3,000.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                          953.11      $                     700.00
      b. Insurance                                                                                         $                            0.00      $                       0.00
      c. Union dues                                                                                        $                            0.00      $                       0.00
      d. Other (Specify): Reductions                                                                       $                          375.57      $                       0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                       1,328.68 $                           700.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                       4,036.66       $                 2,300.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                           0.00       $                     0.00
  8. Income from real property                                                                             $                           0.00       $                     0.00
  9. Interest and dividends                                                                                $                           0.00       $                     0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                     0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify): Rental income                                                                               $                           0.00 $                              0.00
               1351 W. Temple St-Rental                                                                    $                       1,500.00 $                              0.00
  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                    1,500.00 $                              0.00
  15. AVERAGE MONTHLY INCOME               (Add amounts shown on lines 6 and 14)                              $                    5,536.66 $                       2,300.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  7,836.66
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




                                                                                                                                                      Page No.       1 of         1
                        Case 2:08-bk-30721-ER
B6J (Official Form 6J) (12/07)
                                                                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                               Desc
                                                                    Main Document    Page 28 of 54



In re Manuel V. Rendon and Teodora V. Rendon                                                                  ,                           Case No.
                            Debtor(s)                                                                                                                                        (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

       Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ
from the deductions from income allowed on Form 22A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home) .....................................................................................................................
                                                                                                                                                   $                  3,663.00
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    325.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone
                              Cable/Internet
                                                                                                                                                          $                    110.00
                                   ..............................................................................................................................................................
                d. Other                                                                                                                                  $                    105.00
                   Other                                                                                                                                                           0.00
                             ...................................................................................................................................................................
                                                                                                                                                          $
                   Other                                                                                                                                  $                        0.00
 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                                  $                     500.00
                                                                                                                                                                            75.00
 5. Clothing .................................................................................................................................................................................
                                                                                                                                                     $
 6. Laundry and dry cleaning                                                                                                                              $                      50.00
 7. Medical and dental expenses                                                                                                                           $                     100.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     400.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                       10.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                      10.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                       87.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                     187.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                  $                     142.00
              e. Other                                                                                                                                 $                         0.00
                       ........................................................................................................................................................................
                 Other                                                                                                                                 $                         0.00
                                                                                                                                                                                 0.00
                 Other ........................................................................................................................................................................
                                                                                                                                                       $
  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)       Property Tax                                                                                                                            $                     641.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................
           d. Other:                                                                                                                                      $                   0.00
  14. Alimony, maintenance, and support paid to others ..................................................................................................................................
                                                                                                                                                     $                        0.00
  15. Payments for support of additional dependents not living at your home                                                                          $                     400.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $                        0.00
                                                                                                     ....................................................................................
  17. Other:                                                                                                                                         $                        0.00
             1351 W. Temple Pyt
      Other: ................................................................................................................................................................................
                                                                                                                                                     $                 4,288.00
      Other:                                                                                                                                         $                        0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $               11,093.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $               7,836.66
      b. Average monthly expenses from Line 18 above                                                                                                      $              11,093.00
      c. Monthly net income (a. minus b.)                                                                                                                 $             (3,256.34)
                  Case 2:08-bk-30721-ER
B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                           Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                     Desc
                                                           Main Document    Page 29 of 54

In re Manuel V. Rendon and Teodora V. Rendon                                                                              Case No.
                               Debtor                                                                                                                         (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      16     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   12/1/2008                                      Signature   /s/ Manuel V. Rendon
                                                                         Manuel V. Rendon


      Date:   12/1/2008                                      Signature   /s/ Teodora V. Rendon
                                                                         Teodora V. Rendon

                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
 Form 7 (12/07)
                Case 2:08-bk-30721-ER                        Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                 Desc
                                                             Main Document    Page 30 of 54
                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA


In re: Manuel V. Rendon                                                                                                        Case No.
       and
       Teodora V. Rendon


                                                               STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P.
1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question, use
and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                                DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in business" for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.




          1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part-time
          activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the
          gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed,
          state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is
          filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                       SOURCE

Year to date:$110,990.00                                     Employment
   Last Year:$103,134.00
Year before:$100,000.00


          2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
          under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)

AMOUNT                                                        SOURCE

Year to date:$30,000.00                                       Rental Income
   Last Year:$48,000.00


                                                                                                                           Statement of Affairs - Page 1
 Form 7 (12/07)
               Case 2:08-bk-30721-ER                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                Desc
                                                             Main Document    Page 31 of 54
AMOUNT                                                       SOURCE

Year before:$48,000.00


         3. Payments to creditors
None     Complete a. or b., as appropriate, and c.

         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
         creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is affected by
         such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
         alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter
         13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
         commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an
         individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13 must
         include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
         is not filed.)




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were
         insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)




         4. Suits and administrative proceedings, executions, garnishments and attachments
None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)




None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement
         of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)




         5. Repossessions, foreclosures and returns
None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within
         one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
         property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                  DATE OF
                                                                  REPOSSESSION
NAME AND ADDRESS                                                  FORECLOSURE SALE,
OF CREDITOR OR SELLER                                             TRANSFER OR RETURN                     DESCRIPTION AND VALUE OF PROPERTY

Name:Wells Fargo                                                  foreclosed                             Description:1339 W. Temple St
Address:                                                          10/30/2008                             Los Angeles, CA 90026

                                                                                                         Value:




                                                                                                                          Statement of Affairs - Page 2
Form 7 (12/07)
              Case 2:08-bk-30721-ER                        Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                 Desc
                                                           Main Document    Page 32 of 54

        6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married debtors
        filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
        and a joint petition is not filed.)




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)




        7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family
        members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient. (Married debtors
        filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




        8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




        9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation,
        relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                          DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                 NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Andrew E. Smyth                                    Date of Payment:11/20/2008                                     $2,000.00
Address:                                                  Payor: Manuel V. Rendon
4929 Wilshire Blvd.
Suite 605
Los Angeles, Ca 90010


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as
        security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which
        the debtor is a benificiary.




                                                                                                                         Statement of Affairs - Page 3
Form 7 (12/07)
              Case 2:08-bk-30721-ER                           Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                               Desc
                                                              Main Document    Page 33 of 54

        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one
        year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
        shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
        joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
        are separated and a joint petition is not filed.)




        14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




        15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
        vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




        16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New
        Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of the debtor's
        spouse and of any former spouse who resides or resided with the debtor in the community property state.




        17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
        material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these
        substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar
        termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under
        or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




                                                                                                                          Statement of Affairs - Page 4
 Form 7 (12/07)
                Case 2:08-bk-30721-ER                           Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                          Desc
                                                                Main Document    Page 34 of 54
 None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
          governmental unit to which the notice was sent and the date of the notice.




 None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party.
          Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
 None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
          businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
          self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in which
          the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
          businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
          commencment of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
          businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
          commencment of this case.




 None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor, or
self-employed in a trade, profession, or other activity, either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
signature page.)




         19. Books, records and financial statements
 None     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of books of
          account and records of the debtor.




 None     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records, or
          prepared a financial statement of the debtor.




                                                                                                                                Statement of Affairs - Page 5
Form 7 (12/07)
              Case 2:08-bk-30721-ER                          Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                                 Desc
                                                             Main Document    Page 35 of 54
None    c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If any of
        the books of account and records are not available, explain.




None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor within
        two years immediately preceding the commencement of this case.




        20. Inventories
None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar amount and
        basis of each inventory.




None    b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




        21. Current Partners, Officers, Directors and Shareholders
None    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5 percent or
        more of the voting or equity securities of the corporation.




        22. Former partners, officers, directors and shareholders
None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None    b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
        commencement of this case.




        23. Withdrawals from a partnership or distribution by a corporation
None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses, loans,
        stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




                                                                                                                             Statement of Affairs - Page 6
Form 7 (12/07)
               Case 2:08-bk-30721-ER                         Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                            Desc
                                                             Main Document    Page 36 of 54

         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes of which
         the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   12/01/2008                          Signature      /s/ Manuel V. Rendon
                                                  of Debtor


                                                  Signature      /s/ Teodora V. Rendon
       Date   12/01/2008
                                                  of Joint Debtor
                                                  (if any)




                                                                                                                       Statement of Affairs - Page 7
FORM B8 (10/05)
                  Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                               Desc
                                                           Main Document    Page 37 of 54

                                              UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF CALIFORNIA


In re Manuel V. Rendon and Teodora V. Rendon                                                                                Case No.
                                                                                                                            Chapter 7



                                                                                                             / Debtor




           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION - HUSBAND'S DEBTS
     I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.

     I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

     I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                 Property will be Property is   Property will be   Debt will be
                                                                                                                 Surrendered      claimed as    redeemed           reaffirmed
Description of Secured Property                              Creditor's Name                                                      exempt        pursuant to        pursuant to
                                                                                                                                                11 U.S.C. § 722    11 U.S.C. § 524(c)


          None




                                                                                            Lease will be
                                                                                            assumed
 Description of Leased Property                              Lessor's Name                  pursuant
                                                                                            to 11 U.S.C.
                                                                                            § 362(h)(1)(A)




                                                                     Signature of Debtor(s)



Date: 12/01/2008                                            Debtor: /s/      Manuel V. Rendon




                                                                                                                                                          Page       1 of         3
FORM B8 (10/05)
                  Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                               Desc
                                                           Main Document    Page 38 of 54

                                              UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF CALIFORNIA


In re Manuel V. Rendon and Teodora V. Rendon                                                                                Case No.
                                                                                                                            Chapter 7



                                                                                                             / Debtor




                                    CHAPTER 7 STATEMENT OF INTENTION - WIFE'S DEBTS
     I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.

     I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

     I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                 Property will be Property is   Property will be   Debt will be
                                                                                                                 Surrendered      claimed as    redeemed           reaffirmed
Description of Secured Property                              Creditor's Name                                                      exempt        pursuant to        pursuant to
                                                                                                                                                11 U.S.C. § 722    11 U.S.C. § 524(c)


          None




                                                                                            Lease will be
                                                                                            assumed
 Description of Leased Property                              Lessor's Name                  pursuant
                                                                                            to 11 U.S.C.
                                                                                            § 362(h)(1)(A)




                                                                     Signature of Debtor(s)



Date: 12/01/2008                                            Debtor: /s/      Teodora V. Rendon




                                                                                                                                                          Page       2 of         3
FORM B8 (10/05)
                  Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                               Desc
                                                           Main Document    Page 39 of 54

                                              UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF CALIFORNIA


In re Manuel V. Rendon and Teodora V. Rendon                                                                                Case No.
                                                                                                                            Chapter 7



                                                                                                             / Debtor




                                     CHAPTER 7 STATEMENT OF INTENTION - JOINT DEBTS
     I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.

     I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

     I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                 Property will be Property is   Property will be   Debt will be
                                                                                                                 Surrendered      claimed as    redeemed           reaffirmed
Description of Secured Property                              Creditor's Name                                                      exempt        pursuant to        pursuant to
                                                                                                                                                11 U.S.C. § 722    11 U.S.C. § 524(c)


Property at: 1351 W. Temple                                  Wells Fargo                                                                                                   X
St., Los Angeles, CA 90026
House Lot Located at: 227 N.                                 Citi Residential Lending                                                                                      X
Rampart Blvd., Los Angeles, CA
        "                                                    National City                                                                                                 X

                                                                                            Lease will be
                                                                                            assumed
 Description of Leased Property                              Lessor's Name                  pursuant
                                                                                            to 11 U.S.C.
                                                                                            § 362(h)(1)(A)




                                                                     Signature of Debtor(s)


Date: 12/01/2008                                            Debtor: /s/      Manuel V. Rendon


Date: 12/01/2008                                            Joint Debtor: /s/     Teodora V. Rendon




                                                                                                                                                          Page       3 of         3
             Case 2:08-bk-30721-ER                Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                               Desc
                                                 Main     Document
Form B203 Disclosure of Compensation of Attorney for Debtor (12/94) Page 40 of 54

                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

In re Manuel V. Rendon                                                                                             Case No.
        and                                                                                                        Chapter 7
      Teodora V. Rendon




                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               2,000.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . .$                2,000.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$          0.00

2. The source of the compensation paid to me was:
          Debtor                    Other (specify)


3. The source of compensation to be paid to me is:

          Debtor                    Other (specify)


4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
          associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
          compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
     petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearing
     thereof;

     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e. [Other provisions as needed].
          None
          Case 2:08-bk-30721-ER                 Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22             Desc
                                               Main      Document
Form B203 Page Two - Disclosure of Compensation of Attorney for Debtor (12/94) Page 41 of 54


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
        None




                                                  CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.




      12/01/2008                                      /s/ Andrew E. Smyth
      Date                                            Signature of Attorney


                                                      Smyth Law Office
                                                      Name of Law Firm
                Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                       Desc
                                                         Main Document    Page 42 of 54

   Attorney or Party Name, Address, Telephone and Fax Number, and CA State Bar No.                      FOR COURT USE ONLY
   Andrew E. Smyth
   4929 Wilshire Blvd.
   Suite 605
   Los Angeles, Ca, 90010
   (323) 933-8401
   FAX: (323) 933-6089
   Bar No: 60030


   Attorney for Debtor
                         UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  In re Manuel V. Rendon
        and                                                                                             CHAPTER 7
        Teodora V. Rendon
                                                                                                         CASE NUMBER

                                                                                         Debtor               (No Hearing Required)


                                    DECLARATION RE: LIMITED SCOPE OF APPEARANCE
                                     PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1

TO THE COURT, THE DEBTOR, THE TRUSTEE (if any), AND THE UNITED STATES TRUSTEE:

1. I am the attorney for the Debtor in the above-captioned banktuptcy case.
2. On (specify date) , I agreed with the Debtor that for a fee of $2,000.00, I would provide only the following services:

   a.    Prepare and file the Petition and Schedules
   b.    Represent the Debtor at the 341(a) Meeting
   c.    Represent the Debtor in any relief from stay actions
   d.    Represent the Debtor in any proceeding involving an objection to Debtor's discharge
         pursuant to 11 U.S.C. § 727
   e.    Represent the Debtor in any proceeding to determine whether a specific debt is
         nondischargable under 11 U.S.C. § 523
   f.    Other (specify):
   3. I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct and
      that this declaration was executed on the following date at the city set forth in the upper left-hand corner of this page.

   Dated:                                                                   Smyth Law Office
   I HEREBY APPROVE THE ABOVE                                               Law Firm Name
   /s/ Manuel V. Rendon                                                     By: /s/ Andrew E. Smyth
   Signature of Debtor
   /s/ Teodora V. Rendon                                                    Name: Andrew E. Smyth
   Signature of Spouse                                                                                          Attorney for Debtor




Rev. 1/01 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.     F-2090-1.1
                Case 2:08-bk-30721-ER                    Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                       Desc
                                                         Main Document    Page 43 of 54

                                                Declaration Re: Limited Scope of Appearance - Part 2                                             F 2090-1.1
   In re Manuel V. Rendon                                                                               CHAPTER 7
         and
         Teodora V. Rendon                                                                               CASE NUMBER
                                                                                         Debtor

                                                                 PROOF OF SERVICE
STATE OF CALIFORNIA
COUNTY OF

 I am employed in the County of , State of California. I am over the age of 18 and not a party
 to the within action. My business address is as follows:




On , I served the foregoing document described as: DECLARATION RE: LIMITED SCOPE OF APPEARANCE PURSUANT TO
LOCAL BANKRUPTCY RULE 2090-1 on the interested parties at their last known address in this action by placing a true and
correct copy thereof in a sealed envelope with postage thereon fully prepaid in the United States Mail at , California, addressed
as set forth below:




                                                                                Addresses continued on attached page
 I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 Dated:

                                                                                                   /s/
 Type Name                                                                                         Signature

Rev. 1/01 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.     F-2090-1.1
       Case 2:08-bk-30721-ER                           Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                 Desc
                                                       Main Document    Page 44 of 54
Verification of Creditor Mailing List - (Rev. 10/05)                                             2003 USBC, Central District of California



                                               MASTER MAILING LIST
                                    Verification Pursuant to Local Rule 1007-2(d)

Name Andrew E. Smyth

Address 4929 Wilshire Blvd. Suite 605 Los Angeles, Ca 90010

Telephone (323) 933-8401

[X]         Attorney for Debtor(s)
[ ]         Debtor In Pro Per


                                       UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
  List all names including trade names, used by Debtor(s) within              Case No.
  last 8 years:
  In re Manuel V. Rendon                                                      Chapter 7


  and            Teodora V. Rendon




                                     VERIFICATION OF CREDITOR MAILING LIST
The above named debtor(s), or debtor's attorney if applicable, do hereby certify under penalty of perjury that the
                                                          2
attached Master Mailing List of creditors, consisting of _____ sheet(s) is complete, correct and consistent with the
debtor's schedules pursuant to Local Rule 1007-2(d) and I/we assume all responsibility for errors and omissions.




Date: 12/01/2008                                                      /s/ Manuel V. Rendon
                                                                      Debtor: Manuel V. Rendon
/s/ Andrew E. Smyth                                                   /s/ Teodora V. Rendon
Attorney: Andrew E. Smyth                                             Joint Debtor: Teodora V. Rendon
Case 2:08-bk-30721-ER   Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22   Desc
                        Main Document    Page 45 of 54




     Manuel V Rendon
     227 N Rampart Blvd
     Los Angeles Ca 90026


     Teodora V Rendon
     227 N Rampart Blvd
     Los Angeles Ca 90026


     Andrew E Smyth
     4929 Wilshire Blvd
     Suite 605
     Los Angeles Ca 90010


     American Express Blue
     P O Box 0001
     Los Angeles CA 90096


     Bank of America
     P O Box 15019
     Wilmington DE 19886


     Capital One
     P O Box 60024
     City of Industry   CA   91716


     Chase
     P O Box 94014
     Palatine IL 60094


     Citi
     P O Box 6402
     The Lakes NV   88901-6402


     Citi
     P O Box 6406
     The Lakes NV   88901


     Citi
     P O Box 6000
     The Lakes NV   89163-6000
Case 2:08-bk-30721-ER   Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22   Desc
                        Main Document    Page 46 of 54




     Citi Residential Lending
     P O Box 5926
     Carol Stream IL 60197


     J C Penney
     P O Box 960090
     Orlando FL 32896-0090


     Macy's
     P O Box 6938
     The Lakes NV    88901


     National City
     P O Box 856176
     Louisville KY 40285


     Sears Credit Cards
     P O Box 6937
     The Lakes NV 88901-6937


     Washington Mutual
     P O Box 660487
     Dallas TX 75266-0487


     Wells Fargo
     P O Box 10347
     Des Moines IA   50306


     Wells Fargo
     P O Box 10335
     Des Moines IA   50306
         Case 2:08-bk-30721-ER   Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22   Desc
                                 Main Document    Page 47 of 54




       Manuel V. Rendon                                                      7
       and
       Teodora V. Rendon




    Manuel V. Rendon




✔




    Teodora V. Rendon




✔




       12/01/2008                                     /s/ Manuel V. Rendon
                                                      Manuel V. Rendon


       12/01/2008                                    /s/ Teodora V. Rendon
                                                     Teodora V. Rendon
           Case 2:08-bk-30721-ER                      Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                            Desc
                                                      Main Document    Page 48 of 54
B22A (Official Form 22A) (Chapter 7) (01/08)


                                                                                              According to the calculations required by this statement:
  In re   Manuel V. Rendon and Teodora V. Rendon                                                 The presumption arises.
                  Debtor(s)                                                                      The presumption does not arise.
  Case Number:                                                                         (Check the box as directed in Parts I, III, and VI of this statement.)
                  (If known)


                               CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                         AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.


                 Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
          If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the
          Veteran’s Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the
          verification in Part VIII. Do not complete any of the remaining parts of this statement.
 1A
            Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
          defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

          If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not complete any of
 1B       the remaining parts of this statement.

            Declaration of non-consumer debts.          By checking this box, I declare that my debts are not primarily consumer debts.



                     Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
          Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
          a.    Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
          b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
          penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
          living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
          Complete only Column A ("Debtor’s Income") for Lines 3-11.
          c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.        Complete both
  2
          Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
          d.    Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for
          Lines 3-11.
          All figures must reflect average monthly income received from all sources, derived during the six calendar
                                                                                                                                         Column A       Column B
          months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount
          of monthly income varied during the six months, you must divide the six month total by six, and enter the                      Debtor's       Spouse's
          result on the appropriate line.
                                                                                                                                          Income          Income
  3       Gross wages, salary, tips, bonuses, overtime, commissions.                                                                    $5,365.34       $3,000.00

          Income from the operation of a business, profession, or farm.              Subtract Line b from Line a and enter
          the difference in the appropriate column(s) of Line 4. If you operate more than one business, profession or
          farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
  4       Do not include any part of the business expenses entered on Line b as a deduction in Part V.
            a.     Gross receipts                                                       $0.00
            b.     Ordinary and necessary business expenses                             $0.00
                                                                                                                                        $0.00           $0.00
            c.     Business income                                                      Subtract Line b from Line a

           Rent and other real property income.           Subtract Line b from Line a and enter the difference
          in the appropriate column(s) of Line 5. Do not enter a number less than zero.     Do not include
          any part of the operating expenses entered on Line b as a deduction in Part V.
  5         a.     Gross receipts                                                       $0.00
            b.     Ordinary and necessary operating expenses                            $0.00
            c.     Rent and other real property income                                  Subtract Line b from Line a                     $0.00           $0.00

  6       Interest, dividends, and royalties.                                                                                           $0.00           $0.00
          Case 2:08-bk-30721-ER                     Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                       Desc
                                                    Main Document    Page 49 of 54
B22A (Official Form 22A) (Chapter 7) (01/08)       - Cont.                                                                                                 2
  7      Pension and retirement income.                                                                                          $0.00          $0.00

         Any amounts paid by another person or entity, on a regular basis, for the household expenses of
  8      the debtor or the debtor's dependents, including child support paid for that purpose.
         Do not include alimony or separate maintenance payments or amounts paid by your spouse if Column B is
         icompleted.                                                                                                             $0.00          $0.00

         Unemployment compensation.              Enter the amount in the appropriate column(s) of Line 9.
         However, if you contend that unemployment compensation received by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
  9      Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act                $0.00
                                                             Debtor ________                   $0.00
                                                                                       Spouse _________                          $0.00          $0.00

          Income from all other sources.        Specify source and amount. If necessary, list additional sources on a
         separate page.    Do not include alimony or separate maintenance payments paid by your spouse
 10      if Column B is completed, but include all other payments of alimony or separate maintenance.
         Do not include any benefits received under the Social Security Act or payments received as a victim of a war
         crime, crime against humanity, or as a victim of international or domestic terrorism.

                a.   Rental Income                                                            $1,500.00

          Total and enter on Line 10                                                                                             $1,500.00      $0.00
         Subtotal of Current Monthly Income for § 707(b)(7).        Add Lines 3 thru 10 in
 11      Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
         total(s).                                                                                                               $6,865.34      $3,000.00

         Total Current Monthly Income for § 707(b)(7).       If Column B has been completed,
 12      add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
         completed, enter the amount from Line 11, Column A.                                                                      $9,865.34




                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13      Annualized Current Monthly Income for § 707(b)(7).             Multiply the amount from Line 12 by
         the number 12 and enter the result.                                                                                                  $118,384.08

         Applicable median family income.          Enter the median family income for the applicable state and
         household size. (This information is available by family size at   www.usdoj.gov/ust/      or from the clerk of
 14      the bankruptcy court.)
                                                                                                                                              $66,611.00
                                                 CALIFORNIA
         a. Enter debtor’s state of residence: ______________________                                       3
                                                                      b. Enter debtor’s household size: __________

         Application of Section 707(b)(7).      Check the applicable box and proceed as directed.

           The amount on Line 13 is less than or equal to the amount on Line 14.              Check the box for "The presumption does
 15      not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

            The amount on Line 13 is more than the amount on Line 14.               Complete the remaining parts of this
         statement.

                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16      Enter the amount from Line 12.                                                                                                       $9,865.34

         Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
         Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor’s
         dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
         spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s dependents) and the
         amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
         not check box at Line 2.c, enter zero.
 17
           a.                                                                                               $0.00

           b.                                                                                               $0.00

           c.                                                                                               $0.00

          Total and enter on Line 17                                                                                                          $0.00

 18      Current monthly income for § 707(b)(2).        Subtract Line 17 from Line 16 and enter the result.                                   $9,865.34
          Case 2:08-bk-30721-ER                      Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                         Desc
                                                     Main Document    Page 50 of 54
B22A (Official Form 22A) (Chapter 7) (01/08)        - Cont.                                                                                               3


                                    Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                 Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
         National Standards: food, clothing, and other items.            Enter in Line 19A the “Total” amount from IRS National
 19A     Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                              $1,123.00

         National Standards: health care.            Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
        Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket Health
        Care for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the clerk
        of the bankruptcy court.) Enter in Line b1 the number of members of your household who are under 65 years of age,
        and enter in Line b2 the number of members of your household who are 65 years of age or older. (The total number
        of household members must be the same as the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a
        total amount for household members under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a
 19B    total amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total
        health care amount, and enter the result in Line 19B.

          Household members under 65 years of age                           Household members 65 years of age or older

         a1.   Allowance per member                       $54.00           a2.    Allowance per member                       $144.00

         b1.   Number of members                          0                b2.    Number of members                          0

         c1.   Subtotal                                   $0.00            c2.    Subtotal                                   $0.00            $0.00

          Local Standards: housing and utilities; non-mortgage expenses.                  Enter the amount of the
 20A     IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household size.
         (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                     $557.00

          Local Standards: housing and utilities; mortgage/rent expenses.                   Enter, in Line a below, the
         amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size
         (this information is available at www.usdoj.gov/ust/       or from the clerk of the bankruptcy court); enter on
         Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
         42; subtract Line b from Line a and enter the result in Line 20B.    Do not enter an amount less than zero.
 20B
          a.   IRS Housing and Utilities Standards; mortgage/rental expense                                  $1,535.00
          b.   Average Monthly Payment for any debts secured by your
               home, if any, as stated in Line 42                                                            $0.00
          c.   Net mortgage/rental expense                                                                   Subtract Line b from Line a.     $1,535.00

         Local Standards: housing and utilities; adjustment.             If you contend that the process set out in
         Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
         Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
         state the basis for your contention in the space below:
 21



                                                                                                                                              $0.00

         Local Standards: transportation; vehicle operation/public transportation expense.
         You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
         operating a vehicle and regardless of whether you use public transportation.
         Check the number of vehicles for which you pay the operating expenses or for which the operating
         expenses are included as a contribution to your household expenses in Line 8.
  22A
           0     1     2 or more.
         If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards: Transportation.
         If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS Local Standards:
         Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census
         Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                               $502.00

         Local Standards: transportation; additional public transportation expense.                     If you pay the operating expenses
         for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
 22B     your public transportation expenses, enter on Line 22B the “Public Transportation” amount from IRS Local Standards:
         Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                          $0.00
          Case 2:08-bk-30721-ER                      Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                           Desc
                                                     Main Document    Page 51 of 54
B22A (Official Form 22A) (Chapter 7) (01/08)        - Cont.                                                                                                 4
         Local Standards: transportation ownership/lease expense; Vehicle 1.              Check the number
         of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
         expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.    Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs                        $0.00
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                       $0.00                                                    $0.00
                  as stated in Line 42
         c.        Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.

          Local Standards: transportation ownership/lease expense; Vehicle 2.
          Complete this Line only if you checked the "2 or more" Box in Line 23.
         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
         the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24      from Line a and enter the result in Line 24. Do not enter an amount less than zero.
           a.        IRS Transportation Standards, Ownership Costs                                    $0.00
           b.        Average Monthly Payment for any debts secured by Vehicle 2,
                     as stated in Line 42                                                             $0.00
           c.        Net ownership/lease expense for Vehicle 2
                                                                                                       Subtract Line b from Line a.             $0.00

         Other Necessary Expenses: taxes.             Enter the total average monthly expense that you actually incur
 25      for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
         employment taxes, social-security taxes, and Medicare taxes.           Do not include real estate or sales
         taxes.                                                                                                                                 $0.00

        Other Necessary Expenses: mandatory payroll deductions for employment.                         Enter the total average monthly
        payroll deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
 26
        Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                                                $2,028.68

          Other Necessary Expenses: life insurance.            Enter total average monthly premiums that you actually
 27      pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
                                                                                                                                                $0.00
         for whole life or for any other form of insurance.
         Other Necessary Expenses: court-ordered payments.                     Enter the total monthly amount that you are required
 28      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
         Do not include payments on past due support obligations included in Line 44.                                                           $0.00

          Other Necessary Expenses: education for employment or for a physically or mentally
         challenged child.          Enter the total average monthly amount that you actually expend for education that is a
 29
         condition of employment and for education that is required for a physically or mentally challenged dependent
         child for whom no public education providing similar services is available.                                                            $0.00

 30      Other Necessary Expenses: childcare.               Enter the total average monthly amount that you actually expend on
         childcare - such as baby-sitting, day care, nursery and preschool.      Do not include other educational payments.                     $0.00

         Other Necessary Expenses: health care.                   Enter the total average monthly amount that you actually expend on health
 31      care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
         paid by a health savings account, and that is in excess of the amount entered in Line 19B.
         Do not include payments for health insurance or health savings accounts listed in Line 34.                                             $0.00

          Other Necessary Expenses: telecommunication services.                       Enter the total average monthly amount that you
         actually pay for telecommunication services other than your basic home telephone and cell phone service -- such as
 32      pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary for your health
         and welfare or that of your dependents.         Do not include any amount previously deducted.
                                                                                                                                                $110.00

 33      Total Expenses Allowed under IRS Standards.              Enter the total of Lines 19 through 32                                        $5,855.68
          Case 2:08-bk-30721-ER                      Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                          Desc
                                                     Main Document    Page 52 of 54
B22A (Official Form 22A) (Chapter 7) (01/08)        - Cont.                                                                                                5
                                  Subpart B: Additional Living Expense Deductions
                        Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance and Health Savings Account Expenses.                      List the monthly expenses in the
         categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.

           a.      Health Insurance               $0.00
           b.      Disability Insurance           $0.00
           c.      Health Savings Account         $0.00
 34
          Total and enter on Line 34                                                                                                           $0.00
          If you do not actually expend this total amount,         state your actual total average monthly expenditures in the
          space below:
           $0.00

         Continued contributions to the care of household or family members.                  Enter the total average actual
 35      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                                      $0.00

         Protection against family violence.              Enter the total average reasonably necessary monthly expenses that you actually
 36      incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
         other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                          $0.00

        Home energy costs.       Enter the total average monthly amount, in excess of the allowance specified by IRS
 37     Local Standards for Housing and Utilities, that you actually expend for home energy costs.   You must
        provide your case trustee with documentation of your actual expenses, and you must demonstrate that
        reasonable and necessary and not already accounted for in the IRS Standards.                                                           $0.00

         Education expenses for dependent children less than 18.                 Enter the total average monthly expenses that
         you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age. You must provide your case trustee
         with documentation of your actual expenses, and you must explain why the amount claimed is
         reasonable and necessary and not already accounted for in the IRS Standards.                                                          $0.00

         Additional food and clothing expense.             Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
 39      Standards, not to exceed 5% of those combined allowances. (This information is available at        www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
         reasonable and necessary.                                                                                                             $0.00

 40      Continued charitable contributions.              Enter the amount that you will continue to contribute in the
         form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                           $0.00

 41      Total Additional Expense Deductions under § 707(b).              Enter the total of Lines 34 through 40                               $0.00

                                               Subpart C: Deductions for Debt Payment
         Future payments on secured claims.             For each of your debts that is secured by an interest in
         you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
         Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
         total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
         filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
         the total of the Average Monthly Payments on Line 42.
                    Name of Creditor             Property Securing the Debt                      Average                 Does payment
                                                                                                 Monthly                 include taxes
                                                                                                 Payment                 or insurance?
 42
          a.        Citi Residenrtial          227 N. Rampart Blvd Los Angeles, CA 90026
                                                                                    $4,657.00                             yes       no
          b.        National City                                                        $350.00                          yes       no
          c.        Wells Fargo                1339 W. Temple St Los Angeles, CA         $3,420.00                        yes       no

          d.                                                                             $0.00                            yes       no
          e.                                                                             $0.00                            yes       no

                                                                                         Total: Add Lines a - e                                $8,427.00
          Case 2:08-bk-30721-ER                       Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                          Desc
                                                      Main Document    Page 53 of 54
B22A (Official Form 22A) (Chapter 7) (01/08)         - Cont.                                                                                                  6
         Other payments on secured claims.                 If any of the debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
         would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
         total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                  Name of Creditor               Property Securing the Debt                     1/60th of the Cure Amount
 43
          a.                                                                                   $0.00
          b.                                                                                   $0.00
          c.                                                                                   $0.00
          d.                                                                                   $0.00
          e.                                                                                   $0.00

                                                                                                Total: Add Lines a - e                          $0.00

         Payments on prepetition priority claims.              Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
         Do not include current obligations, such as those set out in Line 28.                                                                  $0.00

         Chapter 13 administrative expenses.            If you are eligible to file a case under Chapter 13, complete
         the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
         administrative expense.


          a.    Projected average monthly Chapter 13 plan payment.                              $0.00
 45             Current multiplier for your district as determined under                   x
          b.                                                                                    0.1
                schedules issued by the Executive Office for United States
                Trustees. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.)

          c.     Average monthly administrative expense of Chapter 13 case                 Total: Multiply Lines a and b                        $0.00


 46      Total Deductions for Debt Payment.            Enter the total of Lines 42 through 45.                                                  $8,427.00

                                               Subpart D: Total Deductions from Income
 47      Total of all deductions allowed under § 707(b)(2).               Enter the total of Lines 33, 41, and 46.                              $14,282.68

                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                 $9,865.34

 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                      $14,282.68

 50      Monthly disposable income under § 707(b)(2).                 Subtract Line 49 from Line 48 and enter the
         result                                                                                                                                 ($4,417.34)

 51      60-month disposable income under § 707(b)(2).                 Multiply the amount in Line 50 by the
         number 60 and enter the result.                                                                                                        ($265,040.40)

         Initial presumption determination.          Check the applicable box and proceed as directed.

            The amount on Line 51 is less than $6,575            Check the box for "The presumption does not arise" at the top of page 1 of
         this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $10,950.                  Check the box for "The presumption arises" at the top of
         page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
            The amount on Line 51 is at least $6,575, but not more than $10,950.                   Complete the remainder of Part
         VI (Lines 53 through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                             $

 54      Threshold debt payment amount.                Multiply the amount in Line 53 by the number 0.25 and enter
         the result.                                                                                                                            $

         Secondary presumption determination.                  Check the applicable box and proceed as directed.

            The amount on Line 51 is less than the amount on Line 54.                 Check the box for "The presumption does not arise" at
 55      the top of page 1 of this statement, and complete the verification in Part VIII.
            The amount on Line 51 is equal to or greater than the amount on Line 54.                     Check the box for "The presumption
         arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.
          Case 2:08-bk-30721-ER                      Doc 1 Filed 12/02/08 Entered 12/02/08 08:01:22                                          Desc
                                                     Main Document    Page 54 of 54
B22A (Official Form 22A) (Chapter 7) (01/08)        - Cont.                                                                                         7
                                              PART VII. ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
         health and welfare of you and your family and that you contend should be an additional deduction from your current
         monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
         your average monthly expense for each item. Total the expenses.
                  Expense Description                                                   Monthly Amount
 56
           a.                                                                            $
           b.                                                                            $
           c.                                                                            $
                                              Total: Add Lines a, b, and c               $

                                                              Part VIII: VERIFICATION
         I declare under penalty of perjury that the information provided in this statement is true and correct.    (If this a joint case,
         both debtors must sign.)

                                                    /s/ Manuel V. Rendon
         Date: ________________________ Signature: _____________________________________________________________________
 57
                                                       (Debtor)
                                                     /s/ Teodora V. Rendon
         Date: ________________________ Signature: _____________________________________________________________________
                                                       (Joint Debtor, if any )
